 Case: 2:17-cv-01119-GCS-CMV Doc #: 2 Filed: 01/02/18 Page: 1 of 2 PAGEID #: 62



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

OMAR GUTIERREZ,
                                              CASE NO. 2:17-CV-1119
       Petitioner,                            JUDGE GEORGE C. SMITH
                                              Magistrate Judge Chelsey M. Vascura
       v.

WARDEN, DELAWARE COUNTY JAIL,

       Respondent.

                                             ORDER

       The Clerk of Court is DIRECTED to serve the Petition and this Order on Respondent

and the Attorney General of Ohio, Habeas Corpus Unit of the Corrections Litigation Section, c/o

Brian.Higgins@ohioattorneygeneral.gov and

Habeas.docketclerk@ohioattorneygeneral.gov

       Respondent is ORDERED to respond to the Petition in accordance with the Rules

governing Section 2254 Cases in the United States District Courts within sixty (60) days of the

date of this Order.

       Respondent must file those portions of the state court record that are needed to adjudicate

this action. When the record is filed electronically, the Court’s CM/ECF filing system will affix

a unique PageID number to each page of the record, which will be displayed in the upper right-

hand corner of the page. All papers thereafter filed in the case by either party shall include the

record reference to the PageID number. Respondent’s counsel must assure, when the page is

filed, that any borders on parts of the record (typically, court reporter transcripts) do not obscure

the PageID number. The record shall be indexed by the insertion of “bookmarks,” which display
    Case: 2:17-cv-01119-GCS-CMV Doc #: 2 Filed: 01/02/18 Page: 2 of 2 PAGEID #: 63



each exhibit and the name of that exhibit in the record, in the .pdf version of the state-court

record uploaded to the Court’s CM/ECF system.

        Petitioner may have twenty-one (21) days thereafter to file a reply to the Respondent’s

answer or other response to the Petition.

        IT IS SO ORDERED.

                                                   /s/ Chelsey M. Vascura______
                                                   CHELSEY M. VASCURA
                                                   UNITED STATES MAGISTRATE JUDGE


 




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